
249 P.3d 1026 (2011)
Kevin Michael MITCHELL, Petitioner,
v.
WASHINGTON DEPARTMENT OF CORRECTIONS, Respondent.
No. 84553-1.
Supreme Court of Washington.
March 29, 2011.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Madsen and Justices C. Johnson, Chambers, Fairhurst and Stephens, considered this matter at its March 29, 2011, Motion Calendar. The Court of Appeals previously entered a decision affirming the underlying superior court order in this Public Records Act case. While the petition for review of the Court of Appeals decision was pending in this Court, the Department of Corrections (DOC) discovered additional records responsive to petitioner's public records request. Petitioner filed a motion in the superior court to vacate its order, which that court stayed pending the outcome of this review. DOC then moved this Court to dismiss the petition and remand the case to the superior court for further proceedings. This Court subsequently issued an order staying the petition and authorizing the superior court to rule on petitioner's motion to vacate its previous order. On February 11, 2011, the parties obtained a superior court order vacating the decision challenged on appeal.
¶ 2 In light of these developments, and to clarify that the underlying Court of Appeals decision is no longer the law of the case as to this matter. Department I unanimously agreed that the following order be entered.
¶ 3 IT IS ORDERED:
¶ 4 That the stay is lifted, the Petition for Review is granted, the Court of Appeals *1027 decision is vacated, and the parties may resume litigation in the superior court.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
